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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 ROBERTO P. MARTINEZ,                                 §
                                                      §
      Plaintiff,                                      §
                                                      §
 v.                                                   §    CIVIL ACTION NO. 3:15-CV-0513-B
                                                      §
 STATE FARM LLOYDS,                                   §
                                                      §
      Defendant.                                      §

                                           FINAL JUDGMENT

         This Judgment is entered pursuant to the Court’s Order dated May 14, 2015 (doc. 15), which

dismissed all of Plaintiff’s insurance-related claims without prejudice.

         It is therefore ORDERED, ADJUDGED, and DECREED that Plaintiff take nothing by his suit

against the Defendant and that this suit be, and is hereby, DISMISSED.




         SO ORDERED

         SIGNED: May 14, 2015.




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